         Case 2:18-cr-00422-DJH Document 861-1 Filed 01/28/20 Page 1 of 3




Paul J. Cambria, Jr.(NY 15873, admitted pro hac vice)
Erin E. McCampbell(NY 4480166, admitted pro hac vice)
LIPSITZ GREEN SCIME CAMBRIA LLP
42 Delaware Avenue, Suite 120
Buffalo, New York 14202
Telephone:(716)849-1333
Facsimile: (716)855-1580
pcambria@lglaw.com

Attorneysfor Defendant Michael Lacey

                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF ARIZONA


United States of America,                         NO.CR-18-00422-PHX-SMB

                    Plaintiff,                   REPLY AliklUA'VIT IN FURTHER
vs.                                              SUPPORT OF DEFFENDANTS'
                                                 MOTION TO SUPPRESS
Michael Lacey, et al.,

                  Defendants.




       I, Michael Sanscrainte,states the following:

           1. I currently am a Network Administrator and have been employed at Lipsitz Green
              Scime Cambria,LLP,since May 2008.
          2. I submit the instant reply affidavit in further support of the Defendants' Motion to
              Suppress(Doc.827).
          3. In its opposition,the government has claimed that itshould have received notification
              ofour email system's rejection or quarantining ofthe email sentto Erin McCampbell
              Paris. Further,the government suggests that the email could not have been rejected
              or quarantined by our system security software because the email was a reply to an
              email that originated from within our system. Neither of these assertions is correct.
         Case 2:18-cr-00422-DJH Document 861-1 Filed 01/28/20 Page 2 of 3




           4. An email rejection notification is not sent to the sender for an email that is
               subjected to security software and rejected or quarantined by that software.
           5. Further,the security software and/or quarantine protocols of an email system
               review every email separately and can prevent delivery of or quarantine an
               email even when the email is a reply to an email that originated within the
               email system because the addition of new text and/or an attachment(like the
               government's reply email to defense counsel here) can trigger rejection by
               security software or quarantining.
           6. As I explained in my prior affidavit, there is no record that the government's email
                was received by our email server. This means that the email at issue either was not
                sent to Ms. McCampbell Paris, or Paul Cambria, Jr., was rejected by our email
                security service, or it was sent but immediately quarantined by our virus prevention
                software due to the fact that there was a potential threat contained in the email.


        I swear under penalty of perjury under the laws of the State of New York that the forgoing
is true and correct.




                                                Michae anscrainte
         Case 2:18-cr-00422-DJH Document 861-1 Filed 01/28/20 Page 3 of 3




On January 28,2020,a PDF version
ofthis document was filed with
Clerk of the Court using the CM/ECF
System for filing and for Transmittal
Ofa Notice of Electronic Filing to the
Following CM/ECF registrants:

Kevin Rapp,kevin.rapp@usdoj.gov
Reginald Jones, reginald.jones4@usdoj.gov
Peter Kozinets, peter.kozinets@usdoj.gov
John Kucera,john.kucera@usdoj.gov
Margaret Perimeter, margaret.perlmeter@usdoj.gov
Patrick Reid, Patrick.Reid@usdoj.gov
Andrew Stone, andrew.stone@usdoj.gov
Amanda Wick, Amanda.Wick@usdoj.gov
